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MOW 3007-1.1   (4/2021)



                          IN THE UNITED STATES BANKRUPTCY COURT
                               WESTERN DISTRICT OF MISSOURI

IN RE:                                                     )
INTERSTATE UNDERGROUND WAREHOUSE                           )
       AND INDUSTRIAL PARK, INC.                           )      Case. No. 21-40834
                                                           )      Chapter 11
                               Debtor.                     )

                                   OBJECTION TO CLAIM

       Comes now Movant Interstate Underground Warehouse and Industrial Park, Inc., and
hereby objects to the Proof of Claim filed by creditor Jackson County Collector, in the amount
of $21,293.24, and filed on July 23, 2021. The court claim number is #7.

     Your claim may be reduced, modified, or eliminated. You should read this
document carefully and discuss it with your attorney, if you have one.

   Pursuant to Local Rule 3007-1 (C), the Claimant shall have 30 days after service of the
   Objection in which to file a Response, if you do not want the court to eliminate or change
   your claim. The Response shall be in writing and state why the claim should be allowed as
   filed. If a Response is filed, the Court will schedule a hearing. If no timely Response is
   filed, the Court will enter an Order sustaining the Objection to the Claim. Parties not
   represented by an attorney shall mail a Response to the Court at U.S. Bankruptcy Court, 400
   E. 9th St., Room 1510, Kansas City, MO 64106. Debtor(s) not represented by an attorney
   must be served a copy of the Response by regular mail. If your Response is mailed, it must
   be early enough so that the court will receive it on or before 30 days after service of the
   Objection.

The basis for the objection is as follows:

☒      The claim should be disallowed entirely because the unpaid taxes included in the Proof of
Claim are for properties owned by Interstate Underground Warehouse LLC and not the Debtor.

Dated: December 21, 2021                           KRIGEL & KRIGEL, P.C.

                                                    /s/ Erlene W. Krigel
                                                   Erlene W. Krigel, MO #29416
                                                   4520 Main St., Ste. 700
                                                   Kansas City, MO 64111
                                                   Telephone: (816) 756-5800
                                                   Fax: (816) 756-1999
                                                   Email: ekrigel@krigelandkrigel.com
                                                   ATTORNEYS FOR DEBTOR
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                               CERTIFICATE OF SERVICE

I, Erlene W. Krigel, hereby certify that a true and correct copy of the Objection to Claim was
mailed to Jackson County Collector, Bankruptcy Department, 415 East 12th Street, Suite 100,
Kansas City, Missouri 64106, by first class mail this 21st day of December, 2021 and emailed or
mailed to all interested parties or creditors listed on the Court’s ECF noticing system.


Dated: December 21, 2021                                  /s/ Erlene W. Krigel
                                                          Erlene W. Krigel

Court address: U.S. Bankruptcy Court, 400 E. 9th St., Room 1510, Kansas City, MO 64106

Instructions: Complete all parts of the form and serve on the affected parties



ECF Event: Bankruptcy>Claim Actions>Objection to Claim (includes 30-day notice)
